Case 2:03-cv-02946-.]DB-dkv Document 59 Filed 05/31/05 Pagelon Pa e 95
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sui-b at ,_ __ s i._a.t_;

UNITED STATES DISTRICT COURT
WESTERN DISTRICT oF TENNESSEE§ ita 3 \ at 3= t s

 

WESTERN DIVISION _ , saw
Ct`_§;`,ci§;-;` t_'iis's‘. CT.
,`M n f“,i" ':'[\l idu.'_l\\‘)"pr\’“$
CLEMMIE SALES, .]UDGMENT IN A CIVIL CASE
Plaintiff,
v.
FAYETTE COUNTY, et al., CASE NO: 03-2946-B
Defendants.

 

DECISI()N BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Order Granting Motion
For Summary .Iudgment And Dismissing Case entered on May 19, 2005, this cause is hereby
dismissed and .]udgment is entered in favor of the Defendants, Fayette County, et al., and
against the Plaintii`f, Clemmie Sales.

 

 

. D IEL BREEN
NI ED STATES DISTRICT COURT
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S ‘2\ Os/ Ct"
Date Clerk of Court

 

 

Thls document entered on the docket sheet in comp!iance
with sale 58 and/or 19(a) FacP on ~ ‘ f

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Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
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Brandon O. Gibson

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Honorable J. Breen
US DISTRICT COURT

